Case 1:19-cv-09890-DLC-JLC Document1 Filed 10/25/19 Page 1 of 85
JUDGE NATHAN

IN THE UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF NEW YORK

Packet for Filing a Complaint

Date: October 25, 2019
Plaintiff: Thaddeus Gabara
Defendant: Facebook, INC,
Case No.:

Thaddeus Gabara (pro se)

Owner and co-inventor of ‘Patent-in-Suit’
P.O. Box 512

New Providence, NJ 07974

Email: thadgabara@gmail.com
Telephone: (908) 821-6590

Staff:
This is a new submission of a Complaint to the United States District Court for

the Southern District Of New York. Please enter the below-identified components into the
records as follows:

Complaint — As drafted by pro se litigant page 2
Exhibit 1 -- Patent No. 8,930,131 page 15
Exhibit 2 — Claim Chart Gabara’ 131 page 70

Complaint — Form from Southern District page 79

Summons in Civil Action page 88

 

 
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I love America for providing me a pathway to justice.

Thaddeus Gabara (pro se)

Owner and co-inventor of ‘Patent-in-Suit’
P.O. Box 512

New Providence, NJ 07974

Email: thadgabara@gmail.com
Telephone: (908) 821-6590

THADDEUS GABARA - PRO SE

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

THADDEUS GABARA,

Plaintiff,

Case No:

vy COMPLAINT FOR PATENT

FACEBOOK, INC.,

Defendant.

 

 

INFRINGEMENT AND JURY DEMAND

 
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Plaintiff THADDEUS GABARA (“Gabara” or “Plaintiff’) sent correspondence to Mr.
Mark Zuckerberg (Chairman and CEO of Facebook) that arrived via USPS at the Headquarters
of Facebook, INC., on October 11, 2019 at 10:31AM containing an offer that may have averted
the present situation. However, Gabara failed to receive any type of reply or correspondence by
yesterday's deadline. Today, Plaintiff, using his ‘pro se’ rights, hereby brings this action for patent
infringement against Defendant FACEBOOK, INC. (“Facebook” or “Defendant”), Gabara alleges
the Defendant of infringing the following validly issued patent: U.S. Patent No. 8,930,131, titled
“Method and Apparatus of Physically Moving a Portable Unit to View an Image ofa Stationary

Map,” as follows:

PARTIES

l. Plaintiff maintains his principal place of residence in the city of Murray Hill, NJ
07974 with a mailing address of : Thaddeus Gabara, P.O. Box 512, New Providence, NJ 07974.

2. Defendant Facebook, Inc. is a Delaware corporation with a principal place of
business at | Hacker Way, Menlo Park, California 94025. Facebook has an established brick and
mortar business at 770 Broadway, Floor 8, New York, New York 10003.

3. Facebook also has a presence in the virtual world and owns and operates the
websites identified as ‘www.facebook.com’ and ‘facebook360.fb.com.’! On information and
belief, Facebook requires users to register before the user is able to access any of the ‘features’
(offerings, products, social information, website services, etc.) available in Facebook’s virtual
world. There are over 2.4 billion active Facebook users worldwide.

4, Facebook also has a Facebook page in the virtual world identified as
‘facebook.com/Facebook360.” On information and belief, these website and Facebook pages
market, offer, and distribute its ‘features’ to Facebook users. On information and belief, one

example of these ‘features’ that Defendant’s website and Facebook page markets, offers, and

 

The leading text segment ‘https://’ may be suppressed in this document to simplify reciting the full web addresses.

 
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distributes is identified as ‘Facebook 360.’

Fy | a
5, Facebook released Facebook 360 on March 8, 2017. The ( OG) )

logo for Facebook 360 is shown in Figure 1. On Defendant’s website facebook 50)

Figure 1. Logo of Facebook
360.

page’, Defendant announces that ‘Facebook 360° is “A stunning and captivating

way for publishers and content creators to share immersive stories, places and

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

am experiences with their fans.” On Figure 2.
oak? Facebook 360
Bod os information and belief, when the ‘eon.
8 .
3 a Facebook user of the portable unit is logged into
2 TM 4
Facebook, Facebook 360 is available and accessible to
ot ~, the portable unit tf a Facebook 360 icon (see Figure 2)
Year
Figure 3. Rapid growth of Facebook 3690. becomes visible.
6. Figure 3 illustrates the number of Facebook
‘likes’ that the Facebook 360 page located at Facebook 360 ‘likes’
Date Hof tikes
‘facebook.com/Facebook360’ received during the past year. If Nov. 20, 2048 1,592,493
Apr, 16, 2059 2,036,936
the 50% growth of likes can be correlated to the growth of total Sept. 25, 2019 2,366,022
Oct. 19, 2619 2,406,106
members, Facebook 360’s future appears strong. Table 1 Extracted From:
The Wayback Machine
presents the data of Facebook ‘likes’ extracted using from the Table [. Wayback Machine Data.

website called The WayBack Machine? (first three data points). The fourth data point read from

the live Facebook 360 page.

 

2 facebook360.fb.com
> htto://web.archive.org/web/20170518111929/hitos://wavw,facebook.com/Facebook360/

 
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7. Facebook also rolled out another ‘feature’ called ‘3D Photes’ on October 11,
2018 which they state “bring scenes to life with depth and movement” on a

portable unit.’ Facebook provides, and their users use the 3D phosos icon,

 

as illustrated in Figure 4, to gain access to 3D photos. In March 2014, Figure 4, 3D photos
icon.
Facebook acquired Oculus VR, a virtual reality (VR) headset company. On
information and belief, Oculus VR offers a family of VR products and VR products
manufactured tn partnership with other companies, for example, Samsung smartphones and
Samsung Gear VR.
NATURE OF THE ACTION

8, This is an action for infringement of United States Patent No. 8,930,131 (the °131
patent”) under the Patent Act, 35 U.S.C, § 271, et seq., based on Defendant’s unauthorized
commercial manufacture, use, importation, offer for sale, and sale of infringing products and
services in the United States. This is a patent infringement action to stop Defendant's
infringement of the °131 patent entitled “Method and Apparatus of Physically Moving a
Portable Unit to View an Image of a Stationary Map.” The ‘131 patent is the Patent-in-Suit.
Gabara seeks monetary damages and injunctive relief.

JURISDICTION

9, This is an action for patent infringement arising under the Patent Laws of the
United States, 35 U.S.C. § 1 et seq., including 35 U.S.C. §§ 271, 281, 283, 284, and 285.

10. This Court has original jurisdiction over the subject matter of this action pursuant
to 28 U.S.C. §§ 1331 and 1338(a).

Il. This Court has original jurisdiction over Defendant because it has engaged in

systematic and continuous business activities in this District. As described below, Defendant has

committed acts of patent infringement giving rise to this action within this District.

 

* https://facebook360,fb.com/2018/10/11/3d-photos-now-rolling-out-on-facebook-and-in-vr/

 
Case 1:19-cv-09890-DLC-JLC Document1 Filed 10/25/19 Page 6 of 85
VENUE

12. Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendant has
committed acts of patent infringement within the State of New York and has an established
brick and mortar business located in New York City in Lower Manhattan, where Lower
Manhattan is a part of this District. In addition, Gabara has suffered harm in this District.

PATENT-IN-SUIT

13. On January 6, 2015, the United States Patent and Trademark Office (°USPTO”)
duly and legally issued United States Patent No. 8,930,131 (‘the ‘131 Patent” or “the Patent-in-
Suit”), entitled “Method and Apparatus of Physically Moving a Portable Unit to View an Image
of a Stationary Map.”

14. The current application No. 14/257,349, now Pat. No. 8,930,131 (“the ‘131
Patent”), filed on Apr. 14, 2014, which is a continuation of application No. 14/097,386, filed on
Dec. 5, 2013, now Pat. No. 8,706,400, which is a continuation of application No. 13/967,299,
filed on Aug. [4, 2013, now Pat. No. 8,620,545, which is a continuation of application No.
13/337,25 1, filed on Dec, 26, 2011, now Pat. No. 8,532,919. The priority date of the ‘131 Patent

due to parentage is Dec. 26, 2011.

15, On October 25, 2019, Helen Gabara, President of TrackThings LLC, assigned
the following United States Patent Nos. 8,532,919; 8,620,545; 8,706,400; and 8,930,131 from

TrackThings LLC to Thaddeus Gabara, the Plaintiff,

16. The assignment of the patents to the Plaintiff was recorded in the United States

Patent and Trademark Office (USPTO) on October 25, 2019.

17. Gabara is the assignee of all rights, titles and interests in United States Patent No.
8,930,131 (“the °131 Patent") and all of its parent applications to and including United States

Patent Application No, 13/337, 251 filed with a priority date of December 26, 2011.

19. Gabara holds all rights to enforce and prosecute actions for infringement and to

 
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collect damages for all relevant times against infringers of the Patent-in-Suit.

20. Accordingly, Gabara, one of the inventors of the ‘131 Patent, is exercising his
‘pro se’ litigant rights and possesses the exclusive right and standing to prosecute the present
action for infringement of the Patent-in-Suit by Defendant.

21, A true and correct copy of the '131 Patent is attached hereto as Exhibit 1 and
incorporated herein by reference.

22. The ‘131 Patent is valid and enforceable.

COUNT 1: INFRINGEMENT OF THE PATENT-IN-SUIT

23. Gabara re-alleges and incorporates by reference the allegations of the paragraphs
of this Complaint as though fully set forth herein.

24. Direct Infringement. Defendant knowingly and actively aided and abetted the
direct infringement of one or mere claims of the '13} Patent in at least this District by making,
using, offering to sell, selling and/or importing, without limitation, that infringe at least
exemplary claims 1-6, 8-13, and 15-19 of the '131 Patent (the "131 Patent Claims") literally or
by the doctrine of equivalence. Both Facebook 360 and 3D photos when used on portable units
directly and/or indirectly develops, designs, manufactures, distributes, markets, offers to sell
and/or sells infringing products and services in the United States, including in the District of
Southern New York, and otherwise purposefully directs infringing activities to this District in
connection with ifs products and services.

25, On information and belief, numerous other services that Facebook offers, such
as, Instagram, WhatsApp, News Feed, Facebook Live, Video, Instant Articles, Branded Content,
Messenger, Today in Availability, Pages, Audience Network, Ad Breaks, and Ads on Facebook,
also infringe the claims of the '131 Patent and have been made, used, sold, imported, and offered
for sale by Defendant and/or its users when used with either Facebook 360 or 3D photos.

26. Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

for sale, market, and/or import into the United States, products that infringe the '131 Patent. On

 
Case 1:19-cv-09890-DLC-JLC Document1 Filed 10/25/19 Page 8 of 85
information and belief, Defendant has also continued to distribute product literature and website
materials inducing end users and others to use its products in the customary and intended
manner that infringes the '131 Patent. Thus, on information and belief, Defendant is directly
infringing, contributing to and/or inducing the infringement of the '131 Patent.

27. Defendant infringes” the ‘131 patent of claim 8 as presented (the claim elements

are in italics);

Frame 135

 

Figure 5. A portable unit ...

28. “A portable unit comprising:” In Figure 5, the portable unit is visible.

first portion

Frame 135

 

Figure 6. ...a first portion of a stat...

29, “a first portion of a stationary background image” In Figure 6, the
stationary background image is indicated by white dashed box as highlighted by the white

arrows. A first portion is a portion of the stationary background image.

 

5 Frame 135 and frame 149 were selected from the video posted on Facebook 360: https://facebook360.fb.com/360-photos/ Extracted from site
(on 10/8/19); Name of video: https://sO.wp.com/wp-content/themes/vip/fbspherical/media/360-panorama-loop-v2.mp4

 
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first portion

Frame 135

 

Figure 7. ...displayed on a sereen ...

30. “displayed on a screen of the portable unit;” In Figure 7, the first portion is

displayed on the sereen.

Frame 149

 

Figure 8. ... a first image and a sec...

SL, “a first image and a second image located in the stationary background
image;” Both first image and second image are within the white stationary background

image. (See Figure 8.)

 
Case 1:19-cv-09890-DLC-JLC Document1 Filed 10/25/19 Page 10 of 85

OCR

 

directional eb

distance | screen

second
image

aed

 

ae tsa o

Figure 9. ...the second image in the stat...

32: “the second image in the stationary background image displaced from the first
image in the stationary background image by a directional distance;” Comparing Frames 135
and 149 in Figure 9, the directional distance includes the distance and direction between the

first image and the second image.

Frame 135

 

Figure 10. ...the first image in the first...

33, “the first image in the first portion of the stationary background image
displayed on the screen of the portable unit, wherein” In Figure 10, the first image is visible on

the screen.

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directional |!

distance

iscreen

   

Frame 149

Figure 11, ...the portable unit is mov...

34, “the portable unit is moved in at least one of the orientations of the directional
distance to display on the screen of the portable unit the second image located in a second
portion of the stationary background image.” In Figure 11, by comparing slides 135 and 149,
the portable unit moved in at least one of the orientations of the directional distance across
the stationary background image between slide 135 and slide 149. Doing so caused the

second image to be displayed on the screen of the portable unit.

38. Exhibit 2 presents a claim chart comparing the Exemplary '131 Patent Claims to
Facebook 360. As set forth in the claim chart, Facebook 360 practices the technology claimed
by the '131 Patent. Accordingly, Facebook 360 being incorporated in these charts satisfies all

elements of the Exemplary '131 Patent Claims.

11

 
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39, Induced Infringement. Defendant actively, knowingly, and intentionally has
been and continues to induce infringement of the '131 Patent, literally or by the doctrine of
equivalence, by offering products and services to their users for use in end-user products in a
manner that infringes one or more claims of the '131 Patent. For example, Facebook induces
users to commit patent infringement by providing on its website page’ a list of 14 different 360
Cameras that can be used with Facebook’s product and service Facebook 360. These 360
Cameras comprise: Panono, RICOH THETAS, SP360 4K, Z CAMS], 360FLY 4K Pro,
VIRB360, GiropticiO, Insta360 Air, Insta360 Nano, Insta360 Pro, ION360 U, LG 360
CAM(R105), MOTO 360 Camera, and Nokia Ozo, Facebook’s Facebook 360 also operates on
virtual reality (VR) equipment manufactured by Oculus VR and Samsung. Defendant induces
infringement of the ‘131 Patent to both Oculus VR and Samsung. A listing of the VR equipment
includes: Samsung Gear VR, Oculus Rift CV1, Oculus Rift S, Oculus Go, Oculus Quest, and
Oculus Medium.

40. Contributory Infringement. Defendant actively, knowingly, and intentionally
has been and continues materially contribute to their own user’ infringement of the '131 Patent,
literally or by the doctrine of equivalence, by offering products or services to their users for use
in end-user products in a manner that infringes one or more claims of the'131 Patent. Facebook
contributes to users committing patent infringement by providing on its website page
‘facebook360.fb.com/learn/’ a list of 14 different 360 Cameras and VR equipment that can be
used with Facebook’s product and service Facebook 360 (see above).

4}. Exhibit 2 presents Facebook 360 practicing the technology claimed by the '131
Patent. Accordingly, Facebook 360 being incorporated in the claim chart satisfies all elements
of the Exemplary '131 Patent Claims.

42, Gabara therefore incorporates by reference in its allegations herein the claim

chart of Exhibit 2.

 

® https://facebook360.fb.com/learn/

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Case 1:19-cv-09890-DLC-JLC Document1 Filed 10/25/19 Page 13 of 85

43. Gabara is entitled to recover damages adequate to compensate for Defendant's

infringement.

JURY DEMAND
44, Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffrespectfully

requests a trial by jury on all issues so triable,

PRAYER FOR RELIEF
WHEREFORE, Gabara respectfully requests the following relief:

A. an entry of judgment holding that Facebook infringed, is infringing, induced, and is
inducing infringement of the Patent-in-Suit;

B. apreliminary and permanent injunction against Facebook and its officers, employees,
agents, servants, attorneys, subsidiaries, affiliates, divisions, directors, from infringing and
inducing infringement of the Patent-in-Suit, and for all further and proper injunctive relief
pursuant to 35 U.S.C. § 283;

C. an award to Gabara of such past damages, not less than a reasonable royalty, as it shall
prove at trial against Facebook that is adequate to fully compensate Gabara for Facebook’s
infringement of the Patent-in-Suit;

D. adetermination that Facebook’s infringement has been willful, wanton, and deliberate and
that the damages against it be increased up to treble on this basis or for any other basis in
accordance with the law;

E. a finding that this case is “exceptional” and an award to Gabara of its costs and reasonable
attorneys’ fees, as provided by 35 U.S.C, § 285;

F. an accounting of all infringing sales and revenues, together with post-judgment interest
and pre-judgment interest from the first date of infringement of the Patent-in-Suit; and

G. such further and other relief as the Court may deem proper and just.

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Case 1:19-cv-09890-DLC-JLC Document1 Filed 10/25/19 Page 14 of 85

Dated: October 25, 2019 Respectfully submitted by:

Thaddeus Gabara

By: LE

Thaddeus Gabara
P.O. Box 5]2
New Providence, NJ 07974

 
Case 1:19-cv-09890-DLC-JLC Document1 Filed 10/25/19 Page 15 of 85

Exhibit |

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a2, United States Patent

Gabara et al.

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US 8,930,131 B2
Jan. 6, 2015

(10) Patent No.:
(45) Date of Patent:

 

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METHOD AND APPARATUS OF
PITYSICALLY MOVING A PORTABLE UNIT
TO VIEW AN IMAGE OF A STATIONARY
MEAP

TrackThings LLC, Murray Hill, NJ
(US)

Asher Thomas Gabara, Murray Hill, NJ
(US); Constance Marie Gabara,
Murray Hill, NJ (US); Thaddeus John
Gabara, Murray FTill, NJ (US)

Applicant:

Inventors:

Assignee: TrackThings LLC, Murray Hill, NI
(US)

Notice: — Subject to any disclaimer, the term of this
patent is extended or adjusted under 35
U.S.C, §54(b) by 0 days.

Appl. No. 14/257,349

Filed: Apr 21, 2014

Prior Publication Data

US 2014/0229104 Al Aug, 14, 2014

Related U.S, Application Data

Continuation of application No. 14/097,386, filed on
Dec. 5, 2013, now Pat. No. 8,706,400, which is a
continuation of application No. 13/967,299, filed on
Aug. 14, 2013, now Pat. No. 8,620,545, which is a
continuation of application No. 13/337,251, filed on
Dec. 26, 2011, now Pat. No. 8,532,919.

 

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GOOB 298 (2006.01)
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29/10 (2013.01), GO9G 5/02 (2013.01)

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(58) Field of Classification Search

See application file for complete search history.
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Primary EXaminer — “Vhomas Tarcva

Assistant Examiner -— Alex C Dunn

(74) Auorney, Agent, or Firm: — Thaddeus Gabara; Tyrean
Patent Prosecution Law Firm

(57) ABSTRACT

A portable unit is moved along at least one of the orientations
of a vector. As the user moves the unit, images of the back-
ground map appear on the screen of the portable device. The
user scans the stationary map presented on the screen of the
portable unit. This has several benefits since now relative
distances and angular displacements between objects that are
outside of the range of the screen of the handheld unit can be
immediately be located and placed into view on the screen of
a portable unit. ‘he handheld unit is like a Sliding Window
which provides a view of this image ofa stationary map lying
in the backgeound of the portable unit.

21 Claims, 46 Drawing Sheets

 

Statlonary

£a—
Map

 

 

 

 
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US 8,930,131 B2

 

 

 

 

  
  
 

Page 2
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US 8,930,131 B2

Sheet 1 of 40

Case 1:19-cv-09890-DLC-JLC Document1 Filed 10/25/19 Page 18 of 85
Jan. 6, 2015

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US 8,930,131 B2

Sheet 2 of 40

Jan. 6, 2015

U.S. Patent

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U.S. Patent Jan. 6, 2015 Sheet 3 of 40 US 8,930,131 B2
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FIG. 3a
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U.S. Patent Jan. 6, 2015 Sheet 4 of 40 US 8,930,131 B2

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FIG. 3b
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U.S. Patent Jan, 6, 2015 Sheet 5 of 40 US 8,930,131 B2
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U.S. Patent Jan. 6, 2015 Sheet 6 of 40 US 8,930,131 B2

 

 

 

 

 

FIG. 3d

 
 

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Sheet 7 of 40

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U.S. Patent Jan. 6, 2015 Sheet 10 of 40 US 8,930,131 B2

 

 

 

 

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FIG. 5a

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U.S. Patent Jan. 6, 2015 Sheet 11 of 40 US 8,930,131 B2

 

 

 

 

 

 

 

 

S83) Hand Held Device

 

 

 

 

 

 

FIG. 5b

 

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FIG. 6a

 

 

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FIG. 6b

 

 

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FIG. 6d

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FIG. 6e

 

 

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FIG. 6h

 

 

 

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FIG. 7d

 

 

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FIG, 13a

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FIG. 13b

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FIG. 15a

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FIG. 15b

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FIG. 145d

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1

METHOD AND APPARATUS OF
PHYSICALLY MOVING A PORTABLE UNIT
TO VIEW AN IMAGE OF A STATIONARY
MAP

CROSS REFERENCE TO RELAPFED
APPLICATIONS

‘The present application is a continuation ofapplication Ser,
No. 14/097,386, filed on Dec. 5, 2013, entitled “Method and
Apparatus of Physically Moving a Portable Unit to View an
Image of a Stationary Map” and identified as a U.S. Pat. No.
8,706,400, which is a continuation of application Ser. No.
13/967,299, filed on Aug. 14, 2013, and now a U.S. Pat. No.
8,620,545 issued Dec. 31, 2013 entitled “Method and Appa-
ratus of Physically Moving a Portable Unit to View an Image
of a Stationary Map” which is a continuation of application
Ser. No. 13/337,251, filed on Dec. 26, 201}, and now a U.S.
at. No. 8,532,919 issued Oct. 10, 2013 entitled “Method and
Apparatus of Physically Moving a Portable Unit to View an
Image of a Stationary Map” which is invented by the at least
one camnion inventor as the present application and is incor-
porated herein by reference in their entireties. The present
application is related to the co-filed U.S. application entitled
“Method and Apparatus for Identifying a 3-D Object from a
2-D Display of a Portable Unit” filed on Dec. 26, 2011 with
Ser. No. 13/337,253 and the co-filed U.S. application entitled
“Method and Apparatus of a Marking Objects in Images
Displayed ona Portable Unit” filed on Dec. 26, 2011 with Ser.
No. 13/337,252, which are all invented by the at least one
common inventor as the present application and are all incor-
porated herein by reference in their entireties.

BACKGROUND OF THE INVENTION

Handheld units or portable devices such as cell phones,

smart phones, iPads, Kindles, Blackberries, Navigation +

devices (Magellan or Garmin) and Android systems offer the
bility to use location assistant devices such us maps. Maps
online are provided by Google, Yahoo!Maps, MapQuest
Maps and Bing Maps. When a user of the portable device uses
maps, the map can be scrolled by using a button control or a
touch screen. The touch screen buttons can adjust direction of
map movement and can scale the image on the screen. For
exumple, when using the fouch screen two fingers sliding
toward cach other decreases the scale while sliding the two
fingers sliding apart magnifies the scale. Both types of control
offer the same results. In addition, some of these commands
can be made by speaking where an on-board voice recogni-
tion unit can interpret the voice of the user and comply. When
the destination is viewed and an item of interest may be

outside of the range of the screen of the hand handheld unit, 5

one must scale down (minimize) the screen to get a bearing of
where this particular item of interest is with respect to the
initial requested destination. However, al times, that scaled
down map eliminates detail forcing the user to scale up (mag-
nify) the map to reveal more detail of the map on the screen or
display of the portable unit. These minimization and magni-
fication processes may cause the user to lose bearing, particu
larly since the distance between locations is difficult to sense
from scrotling the map across the screen ofa portable device.
‘This invention helps io overcome this shortcoming in current
portable systems for providing map directions and ofter sev-
eral other advantages as well,

BRIEF SUMMARY OF THE INVENTION

Jarious embodiments and aspects of the inventions will be
described with reference to details discussed below, and the

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accompanying drawings will ilfustrate the various embodi-
ments. Some diagrams are not drawn to scale. The following
description and drawings are illustrative of the invention and
are not to be construed as limiting the invention. Numerous
specific details are described to provide a thorough under-
slanding of various embodiments of the present invention.
However, in certain instances, well-known or conventional
details are nol described in erder to provide a concise discus-
sion of embodiments of the present inventions.

One of the embodiments of the disclosure introduces a
background map that remains stationary. It is the portable unit
that moves within a plane parallel to the screen of the portable
unit. As the user moves the unit, images of the background
map appear on the screen of the portable device. The user
scans the stationary map presented on the screen ofa moving
portable unit. This has several benefits since now relative
distances and angular displacements between objects that are
outside of the range of the screen of the portable unit can be
immediately located and placed into view on the screen of a
portable unit. The unit is moved through space to a physical
position that has the coordinates of distance and angle froman
origin or reference point. The distance and angle are used to
by the system to calculate the portion of the stationary map
that would be visible on ihe screen of the portable unit, The
handheld or portable unit is like a Sliding Window which
provides a view of this image ofa stationary map lying in the
background of the portable unit. The image on the screen of
the portable unit is comprised ofa mumber of points or pixels.

Current processors are being clocked at I billion cycles per
second and Jaster. Inuddition, there are special purpose accel -
erators for video applications. The calculations for the Sliding
Window mode should be abfe to ran in real time displaying
images on the screen of the portable device as ihe device is
moved, Due to the superior performance, as the user moves
the portable unit, the appropriate portion of the stationary
image of the map appears on the screen. The image on the
screen and the stationary background image are effectively
superiniposed over one another. Thus, the user assesses the
relative distance between a source location and a destination
locationand because the user moved the portable unit to view
the destination location, the wser can feel or relate to the
distance because of the physical motion. And it is nat only the
relative distance that is available, but it’s also the orfentation
or movement at an angle of the handheld unit that provides
further information about the content of the image.

Anather one of the embodiments of the disclosure intra-
duces a way of initializing the handheld device to enter the
Siding Window function. For example, a tilt and a shift of the
handheld unit can indicate to the handheld unit to enter the
Sliding Window mode. Another methodis by voice conunand
by stating “Sliding Window made”. Finally, a button (on a
sereen or a physical onc on the unit) can be depressed to enter
the Sliding Window made.

A further embodiment is to mark an area of interest on the
screen of a portable device. Rach interesting location on the
screen is marked by a transparent flag or marker. Then, when
the user scales up (magnifies the image) the map to view one
of the locations, transparent arrows are placed on the screen
identified with transparent location markers indicating the
direction the user needs to move to arrive at the remaining
desired locations marked by markers. In this embodiment,
either the portable unit can be moved while the map remains
stationary or the device remains stationary while the map is
moved by the touch screen. By folowing the transparent
arrow, which constantly calculates the new direction as move-
ment occurs, the user arrives at the desired location, often in
a shontest distance, without getting lost. Once this location is

 
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viewed, the user can then proceed to follow a second trans-
parent arrow corresponding fo a second desired location. This
can be done for each marked location without changing the
scale or entering new data since all transparent arrows (mark-
ers) can be shown on the sereen. An option can exist where the
user moves to the marked location immediately by issuing a
verbal or physical command.

Another embodiment is to view a stationary three dimen-
sional (3-10) background iniage by moving the handheld unit
within a three dimensional (3-D) space. The map would be
three dimensional and would correspond in scale to the dis-
play screen of the portable unit. The third dimensional can be
viewed by moving the device perpendicular to the plane of the
screen of the portable device forming a rectangular cuboid (in
addition, this angle can be different than 90°). Thus, slices of
the volume of the 3-D image are viewed. The user can view
the map in the XY plane, XZ plane, YZ plane or any angled
plane between these three axes.

Another embodiment is to view a three dimensional (3-1)

background image by moving the background image of a 2

movable map on the screen of a stationary portable unit. The
touch screen can be used to move the image in two dimen-
sions corresponding to the plane of the screen. The third
dimension would be perpendicular or at some angle from the
handheld unit within a three dimensional (3-D) space. The
third dimensional can be viewed by moving the map perpen-
dicular to the plane of the screen of the portable device, by a
temperature scale or tmuching a transparent tail or head. Thus,
slices or cross sections, of the volume of the 3-D image are
viewed on the screen. ‘Phe user can integrate the cross sec-
tional images to determine the solid. The user can view the
mapinthe XY plane, XZ plane, YZ plane or any angled plane
between these three axes.

One embediment of such a Sliding Window can be used

viewing 3-1) maps of streets, geographical foculions, and 3:

locations within buildings and rooms. The physical interac-
tion of the user with the map provides a freedom of motion
and interaction with the image of a stationary map which
earlier technologies could not provide. This aspect can be
used in other programs that may be useful for entertainment,
business, and leisure.

In the world of entertainment, some users enjoy games
such as angry birds, where the user interacts with the game.
The physical interaction of the Sliding Window with the
stationary image can be used to create a game where one may
have to scan the area to reach certain goal locations that
provide winning points. Obstacles may be placed in the paths
which need to be avoided. The user can feel where the
obstacles and the goal locations are by relative displacement
from the initial or reference location. The user avoids touch-
ing, the obstacle and making their way to the goal locations.

‘Another embodiment of a game would be to view several
parallel planes and integrate the images together within the
mind of the user. The user then uses this information to guess
what the shape of the object is.

Another embodiment relates toa portable unit comprising:
an image of'a stationary map at a known scale; a first location
in said image displaced from a second location in said image
by a vectar; said vector has an angie and a distance; a screen
of said portable unit displaying a portion of said image at said
known scale; said screen bas a diagonal less than said dis-
tance; said screen displaying, said first location; and said
portion of said image substantially is superimposed over said
image of said stationary map; whereby said portable unit is
moved by said angle and said distance to display second
location, further comprising: said image of said stationary
map mapping onto a two dimensional plane, further compris-

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ing: an inertial guidance system providing movement data of
said portable unit to. a microprocessor; whereby said micro-
processor calculates said angle and said distance using solt-
ware, further comprising: an origin mapped to a point on said
image of said stationary map, further comprising: an X-axis
mapped to a linc on said image of said stationary map. The
portable unit further comprising: a compass fo present an
angular direction equal to said angle; a scale to adjust a
magnification equal to suid known scale; and an identifier lo
presenta mode of operation, further comprising: a memory to
store said image of a stationary map; and an RF module to
access an external database to supply said memory with data.

Another embodiment relates to a portable unit comprising:
an image of a stationary map stored at a known scate in a
memory; a portion of said image with a first location at said
known scale displayed ona screen of said portable unit; said
portable unit moved by a directional distance; movement data
measured of moving said portable unit in said directional
distance; a position of a new tecation of said image of said
stationary map calculated based on said movement data and
said known scale; and said new location of said image of said
stationary map is displayed on said sercen, further compris-
ing: said image of said stationary map maps into a three
dimensional space, further comprising: an inertial guidance
system providing said movement data of said portable unit to
a microprocessor, whereby said microprocessor catculates
said directional distance using software, whereby said micro-
processor calcutates a phi angfe and a thela angle. The por-
table unit further comprising: an origin mapped to a pomt
within said image of said stationary map representing said
three dimensional space, further comprising: two of three
axes mapped onto a plane within said image of said stationary
map representing said three dimensional space. The portable
unit forther comprising: an RE module ta access an extemal
database to supply said memory with data, farther compris-
ing: a plurality of points from each of said three axes dis-
played on said screen of said portable unit.

Another embodiment relates to a method of moving 4
portable unit by a directional distance displaying a first loca-
tion to display a new lecation comprising the steps of: storing
an image of a stationary map at a known scale in a memory;
displaying on a screen of said portable unit a portion of said
image with said first location at said known scale: moving
said portable unit by said directional distance; measuring
movement, data of moving said portable unit in said direc-

5 tional distance: calculating a position of said new location of

said image of said stationary map based on said movement
data and said known scale; and displaying said new location
af said image of suid stationary map, [urther comprising the
steps of: mapping said image of said stationary map into a
three dimensional space, further comprising the steps of
providing said movement data of said portable unit from an
inertial guidance system to a microprocessor; whereby said
microprocessor calculates said directional distance using
software, further comprising the steps of: calculating a phi
angle and a theta angie using said microprocessor. The pro-
cess further comprising the steps of mapping a three dimen-
sional point within said image of said stationary map to an
origin. The process further comprising the steps of accessing
an external database with an RY module to supply said
memory with data, further comprising the steps of: displaying
on said sereen of said portable unit a plane representing a
plurality of poiats from each three axes.

BRIEF DESCRIPTION OF THE DRAWINGS

Please note that the drawings shown in this specification
may not necessarily be drawn to scale and the relative dimen-

 
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sions of various elements in the diagrams are depicted sche-
matically. The inventions presented here may be embodied in
many different forms and should not be constnied as limited
to the embodiments set forth herein. Rather, these embodi-
ments are provided so that this disclosure will be through and
complete, and will fully convey the scape of the invention to
those skilled in the art. In other instances, well-known struc-
tures and functions have not been shown or deseribed in detail
to avoid unnecessarily obscuring the description of the
embodiment of the invention. Like numbers refer to like
elements in the diagrams.

FIG. 1a depicts 4 connection between the intemet and a
naebook computer.

FIG. 16 shows a block diagram representation of the con-
nection in FIG. La.

FIG. 2a illustrates a comection between the interne? and a
portable device in accordance with the present invention.

FIG. 26 shows a block diagram of the portable device in
FIG. 2@ in accordance with the present invention.

FIG. 3a presents a map where a Jarge scale and a {first
sub-portion of the map can be viewed on the screen of a
portable device depending on the scale inaccordance with the
present invention,

FIG. 3 presents a map of the first suh-portion that fills the
full screen of a portable device at the magnified scale in
accordance with the present invention.

FIG. 3¢ depicts the map where the same large scale and a
second sub-portion of the map can be viewed on the screen of
a portable device depending on the seale in accordance with
the present invention.

FIG. 3¢ shows the map where the same large scale and a
third sub-portion of the map can be viewed on the screen ofa
portable device depending on the scale inaccordance with the
present invention.

FIG. 4a illustrates the hand-held stationary device present-
ing the first sub-portion of the map on the screen of a portable
device when the scale is magnified in accordance with the
present invention.

FIG. 44 depicts the hand-held stationary device presenting
the second sub-portion of the map on the screen ofa portable
device when the scale is magnified in accordance with the
present ipvention,

FIG. 4c illustrates the hand-held stationary device present-
ing the third sub-portion of the map on the screen ofa portable
device when the scale is magnified in accordance with the
present invention,

FIG. Sa depicts a representative map where a large scale
and a first sub-scale portion of the representative map can be
viewed on the screen of a portable hand held device depend-
ing on the scale in accordance with the present invention.

FIG. 56 depicts a representative map where the first sub-
scale portion of the representative map is viewed on the
screen of a portable hand held device at a magnified scale in
accordance with the present invention.

FIG. 6@ shows a sub-scale portion of the representative
map of FIG. 8a can be viewed on the screen of'a portable hand
held device when the scale is magnified in accordance with
the present invention.

FIG. 6 illustrates a first sub-scale portion of the represen-
tative map of FIG. 5a that can be viewed on the screen of a
portable hand held device after the portable hand heid device
is physically moved in accordance with the present invention.

FIG. 6c shows a second sub-scale portion of the represen-
tative map of FIG, 5a that can be viewed on the screen of a
portable hand held device after the portable hand held device
is physically moved in accordance with the present invention.

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FIG, 6d depicts a third sub-scale portion of the représen-
talive map of FIG, S@ that can be viewed on the sereen of a
portable hand held device after the portable hand held device
is physically moved in accordance with the present invention,

FIG. 6¢ illustrates a fourth sub-scale portion of the repre-
sentative map of FIG. Sa that can be viewed on the screen of
a portable hand held device after the portable hand held
device is physically moved in accordance with the present
invention.

FIG. 6f illustrates a fifth sub-scale portion of the represen-
talive map of FIG. Sa that can be viewed on the screen of a
portable hand held device after the portable hand held device
is physically moved in accordance with the present invention.

FIG. 6g depicts a sixth sub-scale portion of the represen-
tative map of FIG. $a that can be viewed on the screen of a
portable hand held device after the portable hand held device
is physically moved in accordance with the present invention.

FIG. 6f shows a seventh sub-scale portion of the represen-
tative map of FIG. 5a that can be viewed on the screen of a
portable hand held device after the portable hand held device
is physically moved in accordaice with the present invention.

FIG. 67 presents an eighth sub-scale portion of the repre-
senialive map of FIG. Sa that can be viewed on the screen of
a portable hand held device after the portable hand held
device is physically moved in accordance with the present
invention.

FIG. 6j depicts the first, fourth, sixth and eighth sub-scate
portions of the representative map of FIG. 5a that can be
viewed on the screen of a portable hand held device afler the
portable hand held device is physically moved to these foca-
lions in accordance with the present invention.

FIG. 7a-d shows a search process to find a particular sub-
portion of the representative map of FIG. 5a that can be found

s onthe screen ala portable hand held device after the portable

hand held device is physically moved in accordance with the
present invention.

FIG. 8a presents the first sub-portion of the map in FIG. 3a
that can be viewed on the screen ofa portable device when the
scale is magnified in accordance with the present invention.

FIG. 84 depicts the second sub-portion of the map in FIG.
36 that can be viewed on the sereen ofa portable device when
the scale is magnified and the portable device has been physi-
eally moved in accordance with the present invention.

FIG. 8c illustrates the third sub-portion of the map in FIG.
3c that can be viewed on the screen ofa portable device when
the scale is magnifted and the portable device has been physi-
cally moved in accordance with the present invention.

FIG. 8d shows the first sub-portion of the map in FIG. 3a
that can be viewed on the screen ofa portable device when the
scale is magnified and the portable device has been physically
moved 10 the initial position in accordance with the present
invention.

FIG. 9a presents the MEMS (Micro-electro-mechanical
System) comprising an inertial guidance system in accor-
dance with the present invention.

FIG. 96 depicts a block diagram of a handheld device
including the inertial guidance system of FIG. 9@ in accor-
dance with the present invention.

FIG. 10a illustrates the conventional map movement per-
formed in a stationary portable device.

FIG. 104 shows the inventive portable device movement to
view a stationary map that provides a Sliding Window per-
spective of a map in accordance with the present invention.

FIG. 11a presents a flowchart of locating items in a map
when the map is moved in accordance with the present inven-
tion.

 
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FIG, 11 depicts an inventive owchart locating items in a
map when the device or portable unit is moved in accordance
with the present invention.

FEG. 12 illustrates a more detailed flowchart of the inven-
tive portable device movement in accordance with the present
invention.

FIG. 13a shows the representative map where a large scale
ora first sub-scale portion of the representative map can be
viewed depending on the scale on the screen of a portable
hand held device with the ability to place identifiers on vari-
ous sub-portions in accordance with the present invention.

FIG. 136 presents the magnified first sub-scale portion of
the representative map indicating the identifiers in accor-
dance with the present invention.

FIG. 14 depicts a flowchart of the inventive portable device
movement fo#ow the identifiers in accordance with the
present invention.

FIG. 15@ shows a 3-D representative map where a Z-axis
direction is added to the X and Y-axes to view the large scale

ora first sub-scale portion of the representative map in three 2

dimensions in accordance with the present invention.

FEG. 184 presents the progress in the positive Z-axis direc-
tion of'an image show to the user in slices in accordance with
the present invention.

FIG. i8¢ depicts the movement away from the user by
showing the tail (feathers) of the arrow in accordance with the
present invention.

FIC: 15d presents the movement towards from the user by
showing the head (point) of the arrow in accordance with the
present invention.

FIG. 16a iflustrates transceivers in a local environment in
accordance with the present invention.

FIG. £66 illustrates a handheld unit with transceivers in a
local environment in accordance with the present invention.

FIG. 16c illustrates a handheld unit with transceivers and a
processor in a local environment in accordance with the
Present invention.

FIG. 17 shows a hand held device used in an application to
avoid obstacles in attaining points in accordance with the
present invention.

DETAILED DESCRIPTION OF THE INVENTION

FIG, 1a lustraies a notebook computer with its palkways
going to through the Internet to a server. The notebook com-
puter 1-1 can wirelessly interconnect to a gateway 1-2 which
atong the path 1-4 connects up to the Internet 1-5, The Internet
1-5 has a cannection 1-6 to a server 1-7. This path is bidirec-
tional and allows the user of the notebook L-1 to access the
server's database for data, or to manipulate the server.

FIG. 14 presents a more descriptive illustration of the indi-
vidual components that are in FIG. 1a. The entire system is in
41-8 which contains the notebook computer 1-17, the interface
1-2} between the computer and the Intemet 1-48, the Internet
itself, the interface between the Intemet 1-18 and the servers,
and a set of servers 0-N. The notebook 1-17 contains a key-
board 1-13 coupled ta the processor by a network 1-12, a
screen 1-14 coupled to the processor by interface 1-11. .4
communication bus 1-10 coupling the processor 1-9 to the
memory 1-15 and a communication link £-16. The commu-
nication link 1-16 couples through the bi-directional interface
1-19 and 1-20 to the Intemmet 1-18. The Internet can then
couple to the servers 1-25 through 1-26 via the interconnect
1-24 and 1-23.

FIG. 22 presents a portable hand-held device or a smart
phone 2-1 coupled to the Gateway by 1-2. The Gateway 1-3 is
emupled to the Internet 1-5 by the interface 1-4 and the Inter-

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net 1-5 is coupled to the servers I-7 by the interface 1-6. The
interconnects 1-2, 1-4 and 1-6 are bi-directional allowing the
portable unit or smart phone 2-1 to aecess the servers 1-7 lor
data or for the server to present data to the smart phone 2-1.
The smart phone has a display screen that currently is pre-
senting icons of various applications (the array of rectangles).

FIG, 24 presents a block diagram of the smart phone 2-2.
‘The smart phone contains a processor 1-9 coupled by a bus
1-10 to a memory E-15 and a communication link 1-16. The
processor alsa interfaces to a keyboard 1-13 through the inter-
face 1-12 and to a screen 1-14 by the interface 1-11. In fact,
the screen can present a keyboard to the user. In addition, the
processor can have other features which allow the user easier
access lo the device, as well as, providing additional input Lo
the smart phone. For example, the smart phone can contain a
voice recognition unit 2-3 that communicates to the processor
by interface 2-3. An accelerometer or a set of accelerometers
2-4 providing directions in three dimensions can also be
located within the smart phane 2-4 and coupled to the pro-
cessor by interface 2-5. The touch sercen 2-7 may be a sub-sct
of the sereen J-£4 and can be sensitive to a finger touch
sending the response via interface 2-6, For audio input and
output response, an earphone and a speaker 2-12 can couple
audio to/from the processor by 2-13 and [or visual inpul, 4
camera 2-11 can provide input to the processor via interface
2-10. Lastly, the processor can couple externally through a
wireless means 2-9 by the interface 2-8. Additionally there
can be other features within the smart phone that may not be
listed here, as for example; power supplies, batteries and
other such units which are very typical of smart phones but
not illustrated to simplify the complexity of the diagram.

In FIG. 3a, the screen of a portable device is illustrated
along with several features which can be displayed, for
example, on a smart phone. Along the left boundary is a
mation control 3-2 thatcan be depressed by a finger or thumb
3-3. By depressing the motion control an image or section of
the map is presented on the display. When a search is per-
formed, a magnification can be reduced to encompass more of
the local area. This allows the user to view adjacent items or
Jocations that may be of interest to the user. or example, the
location searched was Bell Labs but the user notices that the
Watchung Reservation aml Surprise Lake are nearby. Since
the user enjoys hiking, the user remembers the relative pasi-
tions of these locations.

In FIG. 3a, the motion contro! can be depressed to move a
particular sub-image of the map of the screen 3-1 into the
center. Below the motion control is a scale 3-4 with a solid
pointer 3-5. The scale provides the magnification state of the
display or screen. The magnification increases as the pointer
nloves tawards to the positive symbol while the magnification
decreases as the pointer moves towards the negative symbol.
Depressing the plus symbol moves the pointer upwards while
depressing the negative symbol moves the pointer down-
wards, As the pointer moves towards the plus symbal, the
image in the screen 3-3 is magnified. When the pointer moves
toward the negative symbol at the other end of the scale; the
image in the screen 3-1 is reduced or scaled down. Thus. by
using the combination of the motion control 3-2 and the scale
43-4 together, a new sub-section of the map 3-9 can be dis-
played in the center and scaled (for example, see FIG. 34).

Once the user selects a mare magnified view of Bell Labs
as illustrated in FIG. 34, the user has a sense of where the
Watchung Reservation and Surprise Lake are located. The
user can then use the motion control 3-2 or slide their finger
on the screen in the direction of either the Watchung Reser-
vation or Surprise Lake at a magnification associated with the
bubble 3-8 (slider at position 3-7), However, it is easy ta get

 
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lost as one finger scrolls the map image by touching the screen
or using the motion control 3-2, When the user gets lost
happens, the wser reduces magnification to find out their
current location (retums back to FIG. 3@). When the pointer is
at 3-5, the scale is set (as indicated by the bubble 3-6 illus-
traling the association of the two solid lined arrows) to pro-
vide the screen of the portable unit illustrated withia the solid
boundaries 3-1. As the solid pointer 3-5 is moved to and
overlays the dotted pointer 3-7, the image wilhin the dashed
linc boundary 3-9 is magnified to fill the full screen of 3-1,
however, this magnification is not presented in FIG. 3a to
simplify the diagram. In addition, when the motion control
3-2 is simultaneously depressed by the finger 3-3, a new
image is presented within the dashed screen of 3-9 showing in
this case the magnified location of Bell Labs, FIG. 36. This
new display would fill the original display screen 3-1 as
depicted in FIG. 34, The actual scale of 3-9 being equal to the
scale of 3-1 has not been iHustrated in FIG. 3¢ to simplify the
diagnun.

FIG. 36 depicts that the size of the display in 3-9 is identical
to the size of the display in 3-1. For example, ifthe pointer is
moved from 3-5 to 3-7 (as indicated by the bubble 3-8 illus-
trating the asseciation of the two dashed lined arrows), the
new display would present those components within the
dashed region of 3-9. From this magnified image of the map,
amore detailed description of the area surrounding Bell labs
is presented. Some of the roads have been identified and
named. In addition, the motion control 3-2 and the scale 3-4
which currently are presented outside the boundaries of the

sereen of the porlable unit would be transparently superim- 3

posed over the image of the map and would be located within
screen of the portable unit but have not been presented in this
regard in order to further simplify the diagram.

FIG. 34 illustrates the case where the bubble 3-8 links the
pointer 3-7 and to the sereen of the portable unit 3-9. Nate that
the screen of the portable unit 3-9 has the same dimensions as
the screen of the portable unit 3-1 in FIG, 3a, The slider 3-7
occupies the same location on the scale 3-4 as in FIG. 3a.
However, the map in FIG. 35 provides a greater detail than the
dashed box 3-9 in FIG. 3a. The dashed box 3-9 ia FIG. 3a is
not shown to scale to simplify the presentation and descrip-
tion of FIG. 3a.

InFIG. 3c, the finger 3-3 is in a new position on the motion
control 3-2 (therefore, a different portion of the map wil] be
presented) and when the pointer on the scale moves from 3-5
to 3-7, the sub-regian 3-10 of the map 3-1 shows the
Watchung Reservation being presented in the dashed sereen
3-10. As before, this new sub-region 3-i0 of the map would
fill the original display screen 3-1 although this is has not been

ilhistrated to reduced complexity of FIG, 3¢. Similarly in 5

FIG, 3d, because ihe tinger 3-3 is in yet a newer position on
the motion control 3-2 (another portion of the map is pre-
sented} and when the pointer on the scale moves from 3-5 to
3-7, the newer sub-region 3-L1 ofthe map 3-1 shows Surprise
Lake being presented in the dashed screen 3-11. As before,
this newer sub-region of the map would fill the original dis-
play screen 3-L although this is has not been illustrated to
reduced complexity of FIG. 3¢,.

In FIG. 4a, the pointer 3-7 is now a solid line the dashed.
line surrounding Bell Labs is also a solid line. The scale
shows the pointer 3-7 related to the screen of the portable unit
4-2 by the bubble 3-8. The previous slides of FIG. 3a-d
provided the knowledge of where the Watchung Reservation
and Surprise Lake are located with reference to Bell Labs. To
get from Bell Labs to the Watchung Reservation while always
keeping the pointer 3-7 in a constant position (same as the
scale in FIG, 34), the following steps are followed. Again,

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what is actually presented on the screen of the portable unit
4-2 is equivatent to the map presented in FIG. 3. The remain-
ing portions of the map 4-1 in FRG. da are nol in the current
view. However, the user remembers that the Watchung Res-
ervation was to the lower right. Thus, the finger 3-3 depresses
the motion contral 3-2 to cause the map 4-1 to move in a
direction shows according to the move map arrow 4-3 fo slide
ia this portion of the mup 4-1. The display currently presents
the locution of Bell Labs on the screen of the portable unit 4-2.
‘The sereen of the portable unit 4-2 would appear similar to
that of FIG. 38. In this case, the handheld stationary device
4-4 indicates that the device remains stationary while the map
moves. Hf the map is moved jn the direction of the arrow 4-3,
the screen displays the map as the map is moving, in the
direction of the arrow 4-3 until the screen eventually presents
the Watchung Reservation.

In FIG. 46, the screen of the portable unit 4-7 is now shown.
presenting the Watchung Reservation. Note that the pointer
3-7 remains al the same scale as before and has not heen
moved. Now the user desires 19 move to Surprise Lake and
remembers that Surprise Take is located to the upper right. So
the finger 3-3 is placed in a corresponding location of the
motion control 3-2 to move the map 4-1. This will cause the
background map to move in the direclion of the move map
arrow 4-5, Another method of moving the map is also possible
by placing the finger on the directly on the screen and moving
the finger across the screen in the direction of the arraw 4-5;
the map will then follow the finger. The handheld stationary
device 4-4 (note that this portable unit does not move, while
the map is moved) will eventually present a different portion
of the map. In FIG. 4c, this new portion of the map shows
Surprise Lake which is illustrated within the screen of the
portable unit 4-8.

In FIG. Sa, one embodiment of the invention is illustrated.
In this cause, instead ofa detatted geographical mep, a simpli-
fied map providing, a few features of an idealized map is
presented to simplify the discussion. The motion cantrol 3-2
is at the top lefi while the scale 3-4 illustrates two pointers; a
solid pointer 3-5 and a dotted pointer 3-7, in the same position
as before therefore providing the same scale. Beneath the
seale is a new icon or identifier called the Sliding Window
identifier 5-9. The pointer at 3-5 corresponds to the main
display sereen 5-1, The remaining background images in the
map have been removed to improve the description of the
invention. For example, within the screen of the portable unit
§-1, there is only a star 5-2, an oval 5-3, a shaped structure 5-4,
a triangle 5-5, and a rectangtc 5-6. The bubble 3-8 relates the
pointer 3-7 to the screen of the portable unit 5-7 with the same
scale as before. The screen of the portable unit 5-7, although
it’s illustrated smaller here, will have the full-size of the
display of the handheld device 5-1. The portable unit is. a hand
held device 5-8. FIG, 54 presents the screen of the portable
unit 5-7 with the rectangle 5-6 scaled to the same size as the
previous slide. Note that through the magnification process of
scaling, the second screen of the portable unit 5-7 to have the
same dimensions as the first screen of the portable unit 3-1,
te rectangle 5-6 is also scaled appropriately, The diagonal of
the screen is measured irom corner 5-10 to comer 5-1.

The user can enter this Sliding Window mode several dif-
ferent ways. The user can tilt and a shift of the handheld unit
in a certain order or sequence to initiate the handheld unit to
enter the Sliding Window mode. Another possibility is to
wiggle the unit a particular way, there can be a multitude of
ways the unit can be moved to enter the made, Another
method is by voice command by stating “Shding Window
mode”. Using verbal commands simplifies the process of
emering into the mode. Finally, a button (on a touch screen or

 

 
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a physical one on the unit) can be touched/depressed to enter
the Sliding Window mode. ‘This method provides un easy
procedure to enter the mode. Similarly, an equivalent proce-
dure can be used to leave the mode.

InFIG. 6a, the screen of the portable unit 5-7 is now being
held by auser’s hand grasped by the thumb 6-5 and the fingers
6-1 through 6-4. The screen of the portable unit 5-7 presents
a portion of the image of a stalionary map 6-9 showing the
rectangle 5-6. In FIG. da-c, the map or image was moved
while the portable unit remains stationary. ‘The inventive
embodiment in FIG. 6 uses a slalionery map while the por-
jable unit is moved. The background map in this case remains
stationary as indicated by 6-9. The objects of the image ofa
stationary map 6-9 include: the star 5-2, the oval 5-3, the
shaped structure 5-4 and the triangle 5-5. These objects are in
the map but currently they are not displayed within the dis-
play of §-17 because the physical size of the screen and the
current scale (or magnification) only displays the rectangle
§-6 and its local vicinity. The screen will be located in front of
the user at a comfortable distance from the user’s lace and the
origin is assigned to this location (0, 0). The origin can be
mapped to a point in the image of the stationary map. Fhe user
of the portable device moves the physical device in the direc-
tian of the arrow 6-7 remembering earlier (see FIG. Sa) that
the oval was located to the upper right. The movement corre-
sponds to 30° 6-8 as indicated within the compass 6-6. The
diagram within shows the 0°, 90°, 180° and 270° marks on a
circle and one referring back to the arrow 6-7 and the new
angle 30° 6-8 wihin the compass 6-6. The image ofa stalion-
ary map as indicated by 6-9, Bervath the scale 3-4 is the
Sliding Window identifier 6-10 that now contains a small
arrow pointing in the direction of movement and the degree
relationship 30° of the arrow, Both, the compass 6-6 and

identifier 6-10 would be transparent and displayed on the 3:

sereen.

‘The origin can be assigned to any point on the image of the
stationary map. The mapping can be done by touch sereen,
entry of the address of the location, voice command or cursor
control, ‘The origin allows the user to select a reference point
which allows the user to reach this reference point quickly or
conversely use the reference point to base measurements with
respect to this point.

The reference angle of 0° can be set by an initialization
process by placing the X-axis, forexanrple, on the two dimen-
sional representation of the image of the stationary map. ‘The
unit can be moved back and forth in a plane perpendicular to
the user along a horizontal line, for example, to indicate
where the 6°-180° line exists. Since the user is facing the

screen, the software within the unit can determine where the 5

0° reference angle is with respect to the user which would be
located 10 the right of the user,

The distance that the portable device moves is determined
by an inertial guidance system (described later) and this dis-

tance is related to the scale of the map. The scale of the map 3

being viewed is known by the system. This scale could be, for
exanple, a 10cm displacement corresponding to 100 m used
by the sofiware ta generate information that instructs the
inertial guidance system to adjust distance measurement such
that a 10 cm displacement corresponds to 100m. As the user
moves the portable unit, the screen of the portable unit pre-
senis a moving map to the user while the image of'a stationary
map is presented to the portable device. Since the screen and
tap have the same scale, the map on the screen substantially
superimposes over the map of the image ofa stationary map.
In other words, the map on the screen mirrors or matches that
portion of the stationary map. The user can now sense or feel

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the distance belween Jocation on the map by experiencing the
distance and angle displacement.

In FIG. 64, the portable device was moved until the display
5-7 presents the oval 5-3 within the display screen of the
portable unit. The portable unit has been moved through a
distance and direction corresponding to vector 6-11. A vector
has a magnitude (distance) and direction (angle), Once the
portable unit presents the oval 5-3, the unil is paused lo view
the image. Below the slider scale, the Sliding Window iden-
tifier 6-12 illustrates a cirele indicating that the user has
stopped movement of his portable device.

In FIG. 6c, the user now moves the screen of the portable
unit 5-7 in a direction of 180° as indicated by the move
portable unit arrow 6-13. The compass 6-6 indicates a direc-
tion. in this case, indicating a 180° 6-15 movement as indi-
cated by the arrow 6-13. Once again, the map remains sta-
tionary while only the physical device held by the user is
moved 6-33. Below the slider is the Sliding Window identifier
6-14 indicating a ERO? movement as indicated by the arrow

) and the indicated value of degrees. In FIG. 6d, the user is still

moving the portable device and the display screen 5-7 in the
sane direction as indicated by the arrow. This is verified by
the Slidig Window identifier below the slider which indi-
cutes that the arrow is pointed at }80°.

In FIG. 6e, the screen of the portable unit 5-7 is now paused
over the star 5-2 which is shown on the display sereen. The
distance and direction between the oval 5-3 and a star 5-2 is
illustrated by the vector 6-16. The Sliding Window identifier
6-12 indicates that the user has stepped movement since the
cirele is within the box.

In FIG. 6f, the user now moves in the direction of the arrow
6-19. As the user moves the portable unit, the user is observ-
ing the screen of the portable unit 5-7 and can see any minute
details in the background the stationary map as it progresses
ony the direction of the arrow 6-19. Below the slider the
Sliding Window identifier 6-17 indicates the direction of
movement of the portable unit by the arrow and the angular
relationship of that arrow being 240°. Referring now to the
compass 6-6, the new degree movement of 240° 6-18 is
entered.

In FIG. 6g, the screen of the portable unit 5-7 now presents
the object §-4. In addition the distance and direction between
the star 5-2 and the object 5-4 is presented by the vector 6-20.

Below the slider since the portable device is stationary, the
box indicates that the device is not moving by the zero within
the identifier 6-12.

In FIG. 62, the user moves the sercen of the portable unit
5-7 in the direction of the move portable unit arrow. Once
again, the map remains stalionary while only the physical
device moves. While the portable unit moves the display
screen presents any of the details associated with the map.
Since the potable unit is moving, the Sliding Windew identi-
fier 6-10 betow the slider presents the direction of movement
of the unit by the arrow at 30°. The compass box 6-6 illus-
trates the 30° 6-8.

InFIG. 6i, the user has stopped at the reciangular object 5-6
which is displayed on the screen of the portable unit 5-7. The
distance between the object 5-4 and the rectangle 5-6 1s indi-
cated by the vector 6-21 which shows the distance and direc-
tion. Note below the slider, the box with the circle indicating
the movement has stopped since now the user is observing the
rectangle and its local environment.

In FIG. 6, the screen of the portable unit 5-7¢ has been
moved 45° along vector 6-22 to display the oval 5-3 within the
display 5-7a. The Sliding Window identifier 6-27 below the
slider presents the direction of movement of the unit by the
arrow at 45°. Recapping, moving aleng the [80° dotted arrow

 
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6-23, the screen of the portable unit 5-74 presents the Star 3-2.
Moving along the 240° dotied arrow 6-24, the screen of the
portable unit 5-7e views the object 5-4. ‘The screen of the
portable unit 5-7 can then return to the rectangle 5-6 by
moving the unit along the 30° dotted arrow 6-25.

The innovative embodiment allows these distances and
angles along the stationary map to be related to the movement
of the screen of the portable unit by the user’s hand. The
physical movement of the portable unit in physical space is
bonded to the stationary map in the user’s mind. This allows
the user to easily relate to the stationary map and allows the
user to visualize and “feel” where the various locations are
within the map in a physical sense.

‘This relation of the physical sense to the stationary map can
be used to search and find an object that may be further away.
Let’s assume that the screen of the portable unit 5-7¢ is
observing the rectangle 5-6 and that the user remembers that
there was a triangle 5-5 in the map. The user knows that the
triangle 5-5 was located to the lower right somewhere in the 5
o'clock direction. However, the exact location of the triangle
5-5 now needs to be searched since the user knows that the
triangle is within the region 7-1 as illustrated in FIG. 7a, The
first intention of the user is to move the screen of the portable
unit 8-7 about 300° along the vector 7-2. Accarding to the

compass 6-6, anew angle take 300° 7-3 is placedonthe circle. 2

Below the slider is the Sliding Window identifier 7-4 illus-
traling the direction of the portable unit and its angle of 300°.
In FIG. 74, the user moves the screen of the portable unit 5-7
about 60° along vector 7-6 which adds a new tick 7-5 to the
conmpass, Beneath the slider the Sliding Window identifier
9-7 indicates the arrew which presents the direction the user
is moving the display and the degrees of 60°. Not finding the
object of interest the triangle 5-5, the user continues the
search.

In FIG. Ze, the user moves the screen of the portable unit
5-Tabout 300° along vector 7-8 to finally position the triangle
5-5 in the screen. The Sliding Window identifier 7-4 indicates
the direction the user moved the portable device by the arrow
at 3000, Once the user finds to triangle 5-5, 11 1s a very easy
matter to come back to the rectangle 5-6 since that was the
slarting pointalong vector 7-9 as illustrated in FIG. 7d and the
Sliding Window identifier 7-10.

Getting back to the origin (reference point) can be easily
verified by the reader, by placing their hand in front of their
face, which indicates the (0, 0) location (origin) that would
correspond, for example, to where the rectangle 5-6 is
located. Now move your hand to different locations within the
plane perpendicular before you and one finds that one can
always return to the (0, 0) location. Thus, even if the user gets
lost searching for an object, the user can always return back to
the origin. Afler finding the triangle 5-5, the process of retum-
ing to the origin is straightforward. To return back to the
starting point of the where the rectangle 5-6 is located; the
user merely moves their hand back in the center of his face.
Thus, the reference point of 5-6 illustrating where the rect-
angle is easy to reestablish and present on the screen of the
portable unit since the origin is located at the central common
comfortable point of the user.

This technique of maintaining the bitmaps stationary and
only moving the portable device can be applied to the map of
Bell Labs, the Watchung Reservation and Surprise Lake that
was invesligated earlier. In FIG, da-e the map was moved
while the screen of the portable unil 5-7 was maintained
stationary. In FIGS. 5-8, the map remains stationary and the
screen of the portable unit is moved, In FIG. Sa, the starting
point or origin would be Bell Labs as indicated on the screen
of the porlable unit 5-7. The user moves the portable unit in

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the direction of the move portable unit arrow 8-2. The back-
ground image ofa stationary map 8-1 exists ina database and
as the portable unit moves, memory bullers are fillet by the
database to present to the user the map corresponding lo the
distance and angle ta where the portable unit was displaced.
Furthemiore, as the portable unit is moving in a particular
direction, the memory components corresponding to that
direction are pre-fetched for quicker loading into the memory
or cache. ‘The Sliding Window identifier 8-3 as illustrated
below the scale corresponds to 340° movement. In FIG. 84,
the user is viewing the Watchung Reservation on the screen of
ihe portable unit 5-7 and decides to view Surprise Lake.
Remembering, where Surprise J.ake was earlier, the user
moves the physical device in the direction of the move por-
table unit arrow 8-4. The Sliding Window identifier 8-3 as
illustrated below the scale corresponds to 40° movement. In
FIG. 8c, the screen of the portable unit 5-7, alter viewing
Surprise Lake, is now moved back tw its initial starting posi-
tion of Bell Labs. The user moves the physical device along
the move portable unit arrow 8-6 and retums to Bell labs as
illustrated in FIG. 8¢. The user has returned the portable unit
5-7 back to Bell Labs once again and at this point this is the
reference location or origin as indicated earlier which would
be ina comlortuble position before the user's face. In addition
since the user has stopped the movement of the portable unit
5-7 as indicated by the identifier 6-12.

An inertial guidance system 9-2 is illustrited ina MEMS
integrated circuit 9-1 as depicted in FIG. 9a. Within the iner-
tial guidance system are two boxes: the three axis accelerom-
eter 9-4 and three axis gyroscope 9-3. The accelerometer
senses the current acceleration ef the portable unit along, the
three axes in distance per unit time. The gyroscope deter-
mines the current device orientation with respect to the three
axes. The screen of the portable unit is displaying a map ata
given scale with the origin of the map al the center at the
screen. The user decides to view the region to the upper right
of the map. The user moves the portable device ito that
physical space. Once the portable unit is moved, the informa-
tion from the accelerometer and pyroscope sensors is applied
fo a microprocessor. In addition, the microprocessor uses the
current scale of the map. The microprocessor calculates
(based on the accelerition, orientation scale of the map, and
origin position) the new position of the map that should be
displayed in the center of the screen of the portable unit. The
microprocessor issttes instructions to the memory to provide
the data corresponding to the newly calculated position. The
data from the memory is processed and applied to the screen
of the partable unit. The map carresponding to the new posi-
tion is viewed on the screen by the user to provide the user
with information regarding the contents of the map to the
upper right of the map corresponding in scale to where the
screen of the portabte unit currently is. Since the processor
calculation and memory access can occur in micraseconds,
the screen can display the contents of the new regions almost
instantaneously to the user. Thus, the map that is displayed to
the user on the screen of the portable device provides map
information that is lightly bound to the positional location of
the portable unit, This provides the user with an intuitive
feeling of the positions of the objects in the map to the physi-
cal positions of portable unit to the user. The system behaves
as ifa stalionary map exists behind the portable unit and the
screen of the portable unit is a Sliding Window exposing the
portion of the image of the stationary map behind the portable
unit,

As the user moves the portable unit, the movement is
sensed by the inertial guidance system. This information pro-
vided by the inertial guidance system can be applied to a

 
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processor and an algorithm or a software program to deter-
mine the actual movement and relative directian ofimovement
of the portable unit as the user moves the portable unit as
indicated above. This information is used to display the cor-
rect portion of the stationary background map on the scree.

The interaction of the movement of the portable unil can be
performed in a two dimensional plane (along the plane of the
screen) or ina three dimensional space (#long the plane of the
sereen and perpendicular to the sereen). The term directional
distance is a vector which has a vector representing distance
and direction. In two dimensions, the vector would have
distance and an angle measured to a reference axis. In two
dimensions, the directional distance can be R (distance) and
‘Theta. In a three dimensions, the system is usually described
in the Cartesian system (X, Y and Z axes), although the
cylindrical (P, Phi and Z) or spherical (R, Phi, Theta) systems
may be appropriate if the map has the right symmetry. For
instance, the directional distance in three dimensions can be
defined as R (distance) and two angles: Phi angle and Theta
angle. However, before interacting with the memory, all coor-
dinate systems need to translated to the Cartesian system
since the memory array would typically be arranged using the
Cartesian system. A narrower term perpendicular distance
implies the perpendicular distance [ram a surlace of a plane.
The magnitude of direction is the distance between two points
ona map. The map could also be an image, an object or any
bitmap. In addition, a two dimensional cross section would be
the image of slicing an object with a plane. This image would
contain the outline of the object,

The three dimensional system uses a vector that has a
directional distance as in spherical coordinates. The Phi and
Theta degrees are also used, These spherical coordinates can
be translated into Cartesian coordinates when needed. The
perpendicular displacement of the portable unit allows a map

thal is being viewed to represent a three dimensional struc-

ture, for example, a city with building where each building
has several floors.

In FIG. 96, a more detailed block diagram of the portable
unit is presented. This unit has an antenna 9-6 coupled to an
RE modute 9-10. The RF module is coupled to the processor
9-12, An interface block that has a speaker 9-7 and a micro-
phone 9-8 is coupled to the processor 9-12, The processor
9-12 is also coupled to a display 9-9, a memory 9-11, a GPS
(Global Positioning Satellite) 9-13 and software block 9-14.
The MEMS inertial guidance system 9-1 is coupled to the
processor and to the software block to evaluate the movement
of the portable handheld unit. The inertial guidance system
provides movement data to a microprocessor and the micro-
processor calculates the angle and the distance of the move-
ment using the software block. An external memory or data-
base can be used to store a portion of the image ofa statianary
map. An RF medule 9-10 and antenna 9-6 can access an
extemal database to supply the memory with data for the
image of a stationary map. The GPS can, if desired, provide
geographical locations data such as latitude and longitude.

FIG. 10a and FIG, 106 illustrate the difference between the
two systems of when the map is moved and when the device
is moved. In FIG. 10a, the map LO-{ is moved while the
portable unit 4-2 remains stationary. When the map is moved
as Indicated by the arrow in FIC. 10, the sercen of the portable
unit 4-2 remains stationary and displays the map as it is slid to
the lower leit exposing the upper right portions on the screen
of the portable unit. The map 10-1 exists ina memory ora fast
cache. These memories may need to be replenished by a
database as the map presents itself to the screen of the por-
table unit. The movement of the map is accomplished by
depressing the movement control 3-2 by a finger 3-3. Other

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means of sliding the map include a touch screen where a
finger stiding on the face of the screen or display drags the
map. The table beneath indicates three aspects of the sliding
map movement. First, the device remains stationary. Secand,
the movement of the map is done in increments and any scale
associated with it to provide an intuitive grasp to the user of
dimensions is lost. And lastly, because of this the map move-
ment lacks un intuitive “feel to the user” as to regards to the
distance and angles the map has been slid. With regards to the
last item, the user cannot use his experience to casily identity
where they have been and how to get back.

In contrast, FIG. 105 shows the innovative embodiment of
the device movement technique. The compass 6-6 show's the
movement of 45° af the device or portable unit 5-7 is moved
in the direction of the arrow 10-4. The screen of the portable
unit 5-7 moves to the upper right and displays the stationary
map on the screen of the portable unit. Thus, the user moves
the portable unit $-7 in the direction 10-4 while the map 10-3
remains stationary. [he innvalive device moventent presents
three aspects. The firstis that the map 10-3 remains stationary.
The second aspect is that the movement of the portable unit
5-7 directly correlates to dimensions of the map 10-3. This is
abig advantage since now as the user moves the portable unit,
the distance that the user moves the porluble unit through is
related directly to the distance (at a given scale) of the map
10-3. Thus, ihe moverneat of the device or portable unit
directly correlates with the map dimensions. Lastly, the
movement that the user experiences allows the user to “feel”
and grasp the various locations by various pasitions in physi-

val space. This provides for this innovative distance and angle
understanding of the map 10-3 which remains stationary and
is being scanned by the moving portable unit 5-7.

Two fowcharts are illustrated. The first Howchart in FIG.
Ifa relates to the sliding ofa map on the screen ofa stationary
unit. The second flowchart in FIG. 114 moves the screen ofa
unit across an image of a stationary map.

In F3G, 11a, the user enters the location into an online map
11-1. The user then moves the map to find anew item 11-2 and
if the item is not found 11-3, then compensation is made ifthe
map was scaled (14-8 and 11-9). Ifthe user is lost 11-10 then
the user should enter the location again 11-12 and repeat the
previous steps. However, if the tem had been found 11-3, and
the user knew their position 11-4 and desired more details
11-6, then the map could be scaled to magnify the map 11-7.
Once the user extracted the information desired, the map is
un-sealed 11-9 and if the user is not lost 11-10, then the user
could drag the map to find a new location 11-2,

In FIG. 114, the user enters the location into an online map
11-1. The user then moves the device to finda new item 11-11
and ifthe item is not found, then compensation is made ifthe
map was scaled. If the user is lost 11-10 then the user should
move the device to the start position 11-24 and repeat the
previous steps. However, if the item had been found, and the
user knew their position 11-4 and desired more details, then
the map could be scaled to magnify the map. Once the user
extracted the information desired, the map is un-scaled and 1f
the user is not lost, then the user could move the device to find
anew item 11-11. In this flowchart where the device or
portable unit is moved, the “feel” that the physical space
provides indicates that the path through the known position
decision 11-4 would typically follow the arrowed line path
11-13 since the user improves their chances of knowing the
position or location. Similarly, the user will less likely be lost
11-16 and follow will the arrowed line path 11-13.

FIG, }2 illustrates another flowchart. The user enters the
location or item 12-1, the system then determines the memory
size of the screen 12-2 and once the lacation or item is found,

 
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the system retrieves the map from ntemory 12-3 and then
determines ifthe item is sync'ed (typically, in the center of the
sereen) and maps this point lo the reference (0, 0) or arigin. H
the unit is not synced, the flow moves to box £2-4 which
allows the user to sync the (0, 0) point to any particular portion
of the screen or display. Once the unit is synced with the (6, 0),
the user then enters the Sliding Window mode 12-6. The user
moves into the retrieval of the adjacent and diagonal map
blocks that are outside the field of view of the display 12-7. At
this point with the memory being filled, the user can move the
device in physical space 12-8 to view the stationary map. As
the user is moving the portable device, the system is calcu-
lating the physical angles and distances 12-9 and transferring
these meusurements to the stationary map. This shows the
user those items that were previously out of view and also
prepares determining if more memory will be required, par-
ticularly if the portable device is moving in the same and
constant direction. Thus, if more memory is required 12-10
the system etches more memory and continues the calcula-

tion of the distance and angle measurement 12-9. If the 2

memory is sufficient, the display continues showing the map
with the details £2-1£. Ifthe user still maintains the device in
motion {2-12 there may be a need to get additional memory.
However i! the device remains stationary, the user can display
the map the angle and the distance from the starting point
12-13. IF the user is satisfied with the results of this particular
search, and the user is done 12-14 and then can exit the
Sliding Window mode 12-15 then terminate the process
12-16. However if the user wants to continue viewing the
imap, the user of the device can retrieve adjacent and diagonal
map blocks 12-7 according to the direction that the user is
moving returning the user back to moving the device in physi-
cal space £2-8.

FIG. 13a illustrates yet another inventive embodiment of

identifying where objects are when they are not in view 3:

within the display. The user usually starts by using a reduced
magnification of the map to determine various adjacent
aspects of the map. ‘The map will be scaled down (decreased
magnification) to see the adjoining components or adjacent
members that the user may be interested in viewing. Once
these components are located, the user may want to view
these companents at an increased magnification. For
example, when the user uses the settings for the bubble 3-6
(the slide at 3-5 and screen 5-1} the screen of the portable unit
5-1 shows a large area image of a stationary map is presented
to the user. This image includes the star 5-2, the oval 5-3, the
object 5-4 and the triangle 5-5. In addition, in the very center
it is a rectangle 5-6 which corresponds to the location of the
(0, 0) er origin. When the user increases magnification

according to the bubble 3-8 (the slide at 3-7 and 3-7) the 5

rectangle 5-6 would remain within the screen of the portable
device 5-7. Thus, when the slider is moved to location 3-7
corresponding to the bubble 3-8, the user has magnified or
scaled positively the image of the stationary background map
inchiding the rectangle 5-6.

However, before doing so the user can place location mark-
ers on the objects using the Marker identifier 13-1. The loca-
tion markers can be letters, numbers, or shapes placed near
the desired objects to be viewed. Other possibilities include
placing the pointer of a mouse near the object and clicking, or
verbally stating to location mark this point using vice recop-
nition. For example, the location markers can be the squares
13-2 te 13-5 containing numbers. The number | marker is
placed near the object 5-4, the number 2 marker is placed near
the star 5-2, the number 3 marker is placed near the oval 5-3
and the number 4 marker is placed near the triangle 5-2. The
portable unit can be either stationary or moving. Once the

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slider moves to 3-7 to give the relationship of 3-8, the rect-
angle 5-6 is magnified as depicted in FIG. 13. The location
marker identifier 13-10 indicates the system is enabled. Afler
magnification, aroad 13-11 becomes visible and the rectangic
§-6 has also been magnified. On this display screen 5-7 are
those earlier location markers labeling corresponding arrows
(or any equivalent symbols) to point to the matched objects in
the screen in FiCi. i3¢. For example, to get the number 1
marker 13-2 follow arrow 13-6, to get to the nember 2 marker
13-3 follow arrow 13-7, to get to the number 3 marker 13-4
follow arrow 13-8 and to get to the oumber 4 marker 13-5
follow arrow 13-9. This inventive embodiment allows for the
map to be moved by eitherthe motion control 3-2 or by sliding
a finger along the screen. -An alternalive embadiment would
be to move the physical portable unit while keeping the map
stationary. All of the arrows and location markers are trans-
parent allowing the user to see the map beneath them. As the
user moves the device ta one of the idemtifiers, for example, in
the direction of the arrow 13-6 corresponding to the number i
marker 13-2, the three other arrows 13-7 through 13-9 con-
tinually adjust themselves to point to the current location of
the other three objects. This innovative technique allows the
user to mark locations, magnify the image of the map, and
find all marked locations Gvithout reverting to a lower mag-
nification) by following pointers that direct the user to loca-
tions that are currently out of view of the screen. Furthermore,
the user can find all marked locations without getting lost.

FIG. 14 illustrates yet another flowchart. The user enters
the jocation or item £2-1, the system then determines the
memory size of the screen 12-2 and once the location or item
is found, the system retrieves the map from memory 12-3 and
then determines if the item is syne'ed (typically, in the center
of the screen} maps this point fo the reference (0, 0) or origin.
If the unit is not synced, the flow moves to box 12-4 which
allows the user to syne the (0, 0) point to any particulurpertion
ofthe sereen or display. Once the unit is synced with the (0, 0),
the user then reduces the scale of the map L4-E. The user
analyzes and studies items in the local area 14-2, clicks to
place markers near the interesting positions or locations 14-3
(the positions can be marked with markers from a list, mark-
ers generated by the user, clicked and identified with a mause
click, clicked and voice activated), increases the magnifica-
tion 14-4, enters the window mode 15-5 and then the user
selects a marker 14-6, The user is given a choice 14-7: manu-
ally follow the marker 14-8 or let the system auto route to the
marker 14-9. Once the user arrives at the position 14-16, and
analyzes and extracts what they needed, the user returns to the
origin 14-11. Ifthe user still has other markers to view 14-12
then they select a differeat marker, or they terminate the
search 14-13.As the user is moving the portable device or the
map is being moved, the system is calculating the physical
angles and distances and transferring these measurcments to
the identifiers of the remaining unviewed markers.

So far everything has been dane ina two dimensional space
(X and Y axes), the technique can also be extended te 3-D
(three dimensional) space (X. Y and 7 axes). Three dimen-
sions (3-D) are important for the description of buildings, the
layout of each floor ina building, study of molecular models,
analyzing the internal structure of solid objects, etc, There can
be several ways of viewing the 3-D space. For instance, the X
and Y axes may be moved by touching and moving fingers
across the screen while the third dimension of the Z axis is
displayed by a movement of the portable unit. Another way is
for all three dimensions to be activated by the movement of
the portable unit in three dimensions. Yet another way is to use
a touch screen to move in two dimensions and have a third
temperature scale to move in the third dimension. Speech and

 
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voice recognition can be used to control the movement of the
map, by stating forexample, move left, move up, move down,
move in, move out three units, etc. In addition, there cun be
many variations by combining the above methods.

FIG. 15a illustrates a 3-D map where the user moves the
screen of the portable unit in a stationary map that is three
dimensional. The plane 15-3 can be selected as a reference
plane. Phe X, ¥ and Z axes 15-1 show that the user maintains
the sereen of the portable unit paraltel lo the X-Y plane. In
addition, the direction of the X axis determines the reference
0° angle in this plane, Other possibilities allow the screen in
the XZ or YZ planes and for that matter, at any orientation
with respect to the three axes. Below the scale 3-4 is the 3-D
identifier [5-2 with an arrow moving upwards, This would
correspond to the path of movement in the vector 15-8, The
slider 3-7 is set to the same magnification as in the screen of
the portable unit shown in FIG, 134 and beneath the scale is
the 3-D identifier 18-2. The reference plane 15-3 is equivalent
to the map presented in FIG. 13¢. This plane shows the star
§-2, the object 5-4, the triangle 5-5 and the rectangle 5-6. The
screen of the portable unit 5-7a is displaying the object 5-4.
After the perpendicular motion 15-8, the user is now on plane
15-4 which contains a rectangle 15-5, a pie shape §5-6 and a
cross 15-7. The user moves the portable unit along the vector
15-9 to display on the screen of the portable unit 5-75 the
cross 15-7 and its local vicinity. The overall distance that the
unit has moved is illustrated by the vector 15-10. This vector
has a distance, the magnitude of 15-L0, associated with the
three dimension space, This vector 15-10 is positioned at an

angle @ (phi) from the X-axis and at an angle © (theta) from

the Z-axis, thus, providing the spherical coordinates for the
movement.

FIG, 15 illusirates the screen nine (9) views of different
planes on the screen of the portable unit 5-7e through 5-74,

According 10 the transparent head of the arrow 15-13, the 35

portable unit is being moved towards the user or out of the
page, Due ta the movement of the portable unit, each plane
presents a cross sectional view of the object. The head is
transparent to allow the object (or map) behind the head to be
viewed. These views are presented when the unit is moved
perpendicular to the plane of the page. These images pre-
sented need to be combined mentally by the user to visualize
that the object being viewed is a sphere 15-11. The solid
image is effectively determined by a sununation of all the
enoss sections of the object as the user moves perpendicular to
the screen. [the user cannot guess what the object is, then the
unit can present an image ofa sphere.

FIG, 15¢ shows the movement away from the user by the
downwards arraw labeled “9 te 1°. The label means that the
user is looking at 9, 8,7... to I in secession in FIG, 156
causing the portable unit to move away from the user: thus,
the transparent tail 15-12 (or the feathers) of the arrow would
be visible to the user. The tail is transparent to allow the object
(or map) behind the tail to be viewed, FIG. 15d shows the
movement towards the user by the upwards arcow labeled “|
to 9". The label means that the user is locking at 1,2,3...to
9 in secession in FIG. 156 causing the portable unit 10 move
toward the user; thus, the head 15-13 (or the point) of the
arrow would be visible to the user. Both the tail 15-12 and
head 15-13 are visible on the screen and are transparent.

The transparent tail and head can indicate to the user how
far above or below a reference plane the current view on the
screen of the portable unit is. As the user moves away from the
reference plane. the diameter of the transparent head or tail
can be made proportional to the distance above or below the
reference plane, For a three dimensional display, the trans-
parent head and tail symbols along with the projected trans-

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parent arrow on the plane of the screen, the user can follow the
arrow to move fo the correct planar focation and then use the
head or tails symbol to aller the depth or height ubove the
plane corresponding to the screen to locate a missing object or
location.

FIG. l6a-c iHustrates other distance and movement mea-
suring devices and procedures. FIG. 16a illustrates transceiv-
ers 16-1, 16-2 and 16-3 placed in the local environment.
‘These transceivers initialize their interface by emilling sig-
nals 16-4, 16-5 and 16-6 and receiving the bi-directional
signals 16-4, 16-5 and [6-6 from these transceivers to deter-
minea relative position of each transceiver with respect to the
other. Then, in FIG. £64, a portable unit 5-7 enters the envi-
ronment and sends signals 16-7, 16-8 and 16-9 between the
portable unit 5-7 to the transceivers 16-1, 16-2 and 16-3 to
determine the relative position of the unit. ‘This information is
used by the unit 5-7 to determine the amount of movement,
either with or without an interaction with the inertial guidance
system. FIG. [6e illustrates an addition ofan external proves-
sor 16-16 to aid inthe calculation. In FIG. 16c,a portable unit
5-7 enters the environment and sends signals 16-7, 16-8 and
16-9 from the portable unit 5-7 to the transceivers 16-13,
46-14 and 16-15. The transceivers 16-13, 16-14 and 16-15
send their results 16-10, 16-11 and 16-12 to the processor
16-16 to determine the relative position of the unit. The pro-
cessor then sends a signal 16-17 to the portable unit 5-7 to
provide the relative displacement of the unit. The signal can
contain a wavelength or 4 short duration of energy thal can be
monitored and measured which indicates time of flight of the
signal. The signal can be RF, audio, light orany other lorm of
electromagnetic radiation. For example, ultra-sound can be
used to measure the distance of the back of the portable unit
to the closest obstruction. As the user moves the portable unit
away or toward the obstruction, the Z-axis values is altered in
a three dimension system, This distance is used to present the
different planes within the three dimensional solid being
viewed on the screen.

FIG. {7 depicts a 3-D space where the user can choose to
remain on the same plane or move between planes. The goal
is 10 get from home 17-1 to the star 17-2, the first oval 17-3,
the second oval 17-4 or the triangle £7-5 without contacting,
any of the obstacles. The movement could be performed by
moving the unit or by moving the map. This maze or puzzic
can be a 2-D or 3-D game.

Finally, it is understood that the above description are only
illustrative of the principle of the current invention. Various
alicrations, improvements, and modifications will occur and
are intended to be suggested hereby, and are within the spirit
and scope of the invention. This invention may, however, be
embodied in many different forms and should not be con-
strued as limited 1a the embodiments set forth herein. Rather,
these embodiments are provided so that the disclosure will be
thorough and complete, and will fully convey the scope of the
invention to those skilled in the arts. It is understood that the
various embodiments of the invention, although different, are
not mutually exclusive. The microprocessor is a device that is
used to calculate the distance that the portable device moves
and to interact with the database in the memory to provide the
data corresponding to the new portion of the map associated
with the distance change. The data from the memory is trans-
lated into display data by the precessor. The microprocessor
could also be a DSP or video processor. Ja accordance with
these principles, those skilled in the art may devise numerous
modifications without departing from the spirit and scope of
the Invention. The three dimensional space can contain
detailed maps, objects, solids, floorplans, cities, underground
pipelines, ete.

 
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What is claimed is:

i. A method of moving a portable unit to present a new
portion of a stationary background image on a screen of the
ponable unit comprising the steps of:

displaying a first image on the screen of the portable unit

matched and superimposed to a corresponding portion
of the stationary background image;

mapping a first point of the first image located in acenter of

the screen of the portable unit to a corresponding refer-
ence point in the stationary background image;

determining a first vector between the center of the screen
of the portable unit and the corresponding reference
point in the stationary background image;

moving the portable unit along at least one of the orienta-
tions of the first vector; and

presenting a new location in the new portion of the station-
ary background image on the screen of the portable unit.

2. The method of claim 1, further comprising the steps oft

forming portions of the stationary background image from 2

one ofa plurality of planes ina three dimensional space
comlaining the corresponding reference point.

3. The method of claim 1, further comprising the steps of:

matching the corresponding, reference point in the station-
ary background image to a known position of the por-
table unit relative to a user,

4, The method of claim 3, further comprising the steps of:

moving the portable unit to the known position, if lost.

5. The method of claim 1, wherein

the at least one of the orientations of the first vector which
the portable unit is moved is cither theta, phi, or the
combination of phi and theta.

6. The method of claim 5, further comprising the steps of:

providing data corresponding to a movement of the por-

lable unit from an inertial guidance system ta a miecro- :

processor, wherein

the microprocessor calculates the movement froma known
position using either a Cartesian coordinate, a cyfindri-
cal coordinate or a spherical coordinate system, or any
combination of the three by using an algorithm or a
software program.

7. The method of claim 1, further comprising the steps of:

storing, the stationary background image to an internal
nienory or an extemal database;

receiving data from the external database on an Internet by
an RF module; and

storing the data corresponding to the background image of

the stationary background image in the intemal memory.

8. A portable unit comprising:

a first portion of a stationary background image displayed
on a screen of the portable unit;

a first image and a second image located in the stationary
background image;

the second image in the stationary background image dis-
pJaced from the first image in the stationary background
image by a directional distance;

the first image in the first portion of the stationary back-
ground image displayed on the screen of the portable
unit, wherein

the portable unit is moved in at feast one of the orientations
of the directional distance to display on the screen of the
portable unit the second image located in a second por-
tion of the stationary background image.

9. The apparatus of claim 8, further comprising:

the stationary background image formed from one of a
plurality of planes in a three dimensional space contain-
ing a reference point in the first image.

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10. The apparatus of claim 8, further comprising:

a known pasitioz of the portable unit positioned fram a user
matched toa reference point in the first image within the
stationary background image.

fi. The apparatus of claim 10, wherein

the portable unit is moved to the known pasition, if lost.

12. The apparatus of claim 8, wherein

the at least one of the orientations of the directional dis-
lance Which the poriable unit is moved is either theta,
phi, or the combination of phi and theta.

13. The apparatus of claim 12, further comprising:

am inertial guidance system providing data to a micropro-
cessor correspondiag to amovement of the portable unit,
wherein

the microprocessor calculates the movement fram a known
position using either a Cartesian coordinate, a cylindri-
eal coordinate or a spherical coordinate system, or any
combination of the three by using an algorithm or a
soflware program.

14. The apparatus of claim 8, further ccunprising:

an internal memory or an extemal database stores the sta-
tionary background image;

an RF module transfers data from the external database on
an Intemet; and

the data corresponding to the stationary background image
stored in the internal memory.

15. A method of displaying at least one of a plurality of
images in a stationary background image on a screen of a
portable unit comprising:

displaying a portion of the stationary background image on
the screen of the portable unit. wherein a first image of
the plurality of images is located in the portion of the
stationary background image and a second image
located in a new portion the stationary background
image is displaced fram the first image by a directional
distance; and

moving the portable unit in at feast one of the orientations
of the directional distance to display on the screen of the
portable unit the second image in the new portion the
stationary background image.

16. The method of claim £5, further comprising the steps

of:

forming the portions of the stationary background image
from one ofa plurality of planes ina three dimensional
space containing a reference point in the first image.

£7. The method of claim 15, further comprising the steps
of:

matching a known position of the portable unit from a user
x0 the reference point in first image within the stationary
background image.

18. The method of claim 17, further comprising the steps

of:

moving the portable unit to the known position, if lost.

19. The method of claim 15, wherein

the at least one of the orientations of the first vector which
the portable unit is moved is either theta, phi, or the
combination of phi and theta.

20. The method of claim £9, further comprising the steps

of:

providing data corresponding to a movement of the por-
table unit fram an inertial guidance system fo a micro-
processor, wherein

the microprocessor calculates the movement fram the
known position using either a Cartesian coordinate, a
cylindrical coordinate or a spherical coordinate system,
or any combination of the three by using an algorithm or
a soltware program.

 
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21. The methed of claim 45, further comprising the steps
of;
storing the slationury background image to an internal

memory or an external database:
receiving data from the extental database on an Internet by 5

an RF module; and
storing the data corresponding to the background image of
the stationary background image in the intemal memary.

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Exhibit 2

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

THADDEUS GABARA

 

 

Write the full name of each plaintiff.

~against-

FACEBOOK, INC.

 

 

 

 

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section Il.

CV

{Include case number if one has been
assigned)

COMPLAINT

Do you want a jury trial?
Wl Yes [No

 

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore net contain: an individual’s full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual's birth; a minor’s initials; and the last four digits of a financial account number.

See Federal Rule of Civil Procedure 5.2.

 

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I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
Federal Question
Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?

 

This is a civil action for infringement of at least one United States Patent.
This is an action for violation of 35 U.S.C. §§271(a) and 35 U.S.C. §§271(b).

 

 

 

B. If you checked Diversity of Citizenship
1. Citizenship of the parties

Of what State is each party a citizen?

The plaintif£ , Thaddeus Gabara , is a citizen of the State of
(Plaintiff's name)

 

New Jersey
(State in which the person resides and intends to remain.)

 

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

if more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

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If the defendant is an individual:

The defendant, Facebook, INC ' , is a citizen of the State of
(Defendant's name)

 

New York

or, if not lawfully admitted for permanent residence in the United States, a citizen or

 

subject of the foreign state of

n/a

 

If the defendant is a corporation:

The defendant, Facebook, INC. , is incorporated under the laws of
the State of Delaware

 

 

and has its principal place of business in the State of California

 

or is incorporated under the laws of (foreign state) n/a

 

and has its principal place of business in n/a

 

if more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

II. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

 

 

 

 

 

Thaddeus Gabara

First Name Middle Initial Last Name

P.O. Box 512

Street Address

Union, New Providence New Jersey 07974
County, City State Zip Code
(908) 821-6590 thadgabara@gmail.com
Telephone Number Email Address (if available)

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B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1:

Defendant ?:

Defendant 3:

Facebook, INC.

 

First Name Last Name
Social Media Company

 

Current Job Title {or other identifying information)
{1 Hacker Way,

 

Current Work Address (or other address where defendant may be served)

 

 

San Mateo, Menlo Park California 94025
County, City State Zip Code
First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

 

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address {or other address where defendant may be served)

 

County, City State Zip Code

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Defendant 4:

 

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

IL STATEMENT OF CLAIM
Place(s) of occurrence: (see attached complaint for additional information)

 

Date(s) of occurrence: (see attached complaint for additional information)

 

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

(see attached complaint for additional information)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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INJURIES:

If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

(see attached complaint for additional information)

 

 

 

 

 

IV. RELIEF

State briefly what money damages or other relief you want the court to order.

(see attached complaint for additional information)

 

 

 

 

 

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V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11, .

Lagree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

October 25, 2019 G

 

 

 

 

 

 

 

Dated Plaintiff's Signature
Thaddeus Gabara

First Name Middle Initial Last Name
P.O, Box 512

Street Address

Union, New Providence New Jersey 07974
County, City State Zip Code
(908) 821-6590 thadgabara@gmail.com
Telephone Number Email Address (if available)

I have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
Vi Yes LINo

If you do consent to receive documents electronically, submit the completed form with your
complaint. if you do not consent, please do not attach the form.

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